MILO O. KING, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.King v. CommissionerDocket No. 5618.United States Board of Tax Appeals10 B.T.A. 1149; 1928 BTA LEXIS 3962; March 1, 1928, Promulgated *3962  The evidence does not indicate that the petitioner actually ascertained debts to be worthless as provided in section 214(a)(7) of the Revenue Act of 1924.  Arthur Metzler, Esq., for the petitioner.  W. Frank Gibbs, Esq., for the respondent.  MURDOCK *1149  MURDOCK: This is a proceeding for the redetermination of a deficiency in income tax for the year 1924, in the amount of $62.31, arising from the disallowance by the Commissioner of a deduction for bad debts in the amount of $1,929.25.  The petitioner for many years has been a physician engaged in the general practice of medicine at Rochester, Ind.  He kept his own accounts.  During the day, as he rendered personal services to any patients, he entered in a day book the amount of the fee which he charged.  At the end of the day he transferred these entries from the day book to cards in the name of an individual or head of a family, and this card index system he maintained as his permanent record.  He made up his 1924 return on the accrual basis by referring to the entries in the day book, which was not produced at the hearing.  He included in this return as his gross income all of the fees*3963  which he had charged, regardless of whether or not he had received payment therefor, and deducted $1,929.25 as bad debts for services, all of which were rendered in 1924.  At the end of the year he went over his unpaid accounts.  If he thought an account was absolutely good, he would not deduct it from his gross income.  If he considered that the collection of an account would be slow or questionable, he included it in the list of bad debts.  He did not close out any of the accounts and rule them off his records, but instead he carried them along with the hope that some day he would be able to collect them.  So far as we know, no effort was made to collect the accounts.  The Revenue Act of 1924, in section 214(a)(7), provides: In computing net income there shall be allowed as deductions: * * * (7) Debts ascertained to be worthless and charged off within the taxable year * * *.  The evidence does not indicate that the petitioner actually ascertained these debts to be worthless as provided in the section of the Act set forth above.  We therefore affirm the action of the Commissioner in disallowing the amount of $1,929.25 as a deduction.  Judgment will be entered for the*3964  respondent.